      Case: 1:18-cv-04088 Document #: 40-1 Filed: 03/20/19 Page 1 of 3 PageID #:190



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    CHICAGO DIVISION

 CAROLYN MILLER, on behalf of herself
 and other similarly situated,
                                     Plaintiff,
                                                              CASE NO. 1:18-cv-04088
 v.
                                                              Hon. Rebecca R. Pallmeyer
 SOUTHWEST CREDIT SYSTEMS, L.P.,


                                      Defendant.



                        DEFENDANT SOUTHWEST CREDIT SYSTEMS, L.P.’S
                              STATEMENT OF MATERIAL FACTS



TO THE HONORABLE JUDGE:

          COMES NOW, Defendant Southwest Credit Systems, L.P. (“SWC”), submits this

Statement of Material Facts in Support of its Motion for Summary Judgment in accordance with

Local Rule 56.1, stating as follows:

1.        SWC sent a letter to Plaintiff on March 29, 2018. (Doc. 1-1 at 6).

2.        This letter states that the “creditor” of the debt at issue is “MONI.” Id.

3.        This letter states that the account number the for debt at issue is 601119902

4.        Prior to the date on which SWC sent this letter, Plaintiff had an active alarm monitoring

account with Platinum Protection. Exhibit E at 25:3-23; Depo. Exhibit 1.

5.         This account was later assigned to Monitronics International, Inc. per the terms of the

contract entered into and signed by Plaintiff. Depo. Exhibit 1; Depo. Exhibit 1A (enlarged

Assignment clause).


Statement of Facts                                                                         Page 1 of 3
220.0296 Statement of Facts
      Case: 1:18-cv-04088 Document #: 40-1 Filed: 03/20/19 Page 2 of 3 PageID #:191



6.        Plaintiff has this account from approximately July 30, 2011 until October of 2014. (date

of contract, Depo. Exhibit 1); (Exhibit E at 30:1-9; Depo. Exhibit 2 (cancellation letter sent to

Monitronics)

7.        In October of 2014, Plaintiff sent a letter asking that “Monitronics” account with an account

number of 601119902 be cancelled. (Doc. 1-1 at 6).

8.        Therefore, the entity and the account number for the cancelation letter sent by Plaintiff in

October of 2014 match the entity and account number for the March 29, 2018 letter sent by SWC.

(Doc. 1-1 at 6; Exhibit D).

9.        Thereafter, in September of 2016, Monitronics rebranded and changed its name to MONI.

Exhibit 1 at 2.

10.       Then, in 2017, Plaintiff’s account was placed with SWC for collection. (Exhibit C).

11.       At the time the debt was assigned to SWC, the original creditor was, in fact, MONI. Id.

12.       As such, the March 29, 2018 letter undisputedly stated the name of “the creditor to whom

the debt is owed.” (Doc. 1-1 at 6; Exhibit A).

13.       The debt assigned to SWC was for Carolyn Webber. (Doc. 1-1 at 6).

14.       This lawsuit has been filed by Carolyn Miller. (Doc. 1; Doc. 1-1; see this Court’s PACER

docket).

15.       As acknowledged by Plaintiff’s filings, and for purposes of this suit, Carolyn Webber and

Carolyn Miller are the same person. (Doc. 1; Doc. 1-1).




Statement of Facts                                                                             Page 2 of 3
220.0296 Statement of Facts
     Case: 1:18-cv-04088 Document #: 40-1 Filed: 03/20/19 Page 3 of 3 PageID #:192



Dated: March 20, 2019.                          Respectfully submitted,

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                                                 /s/ Robbie Malone
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                                                 SOUTHWEST CREDIT SYSTEMS LP



                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing has been forwarded
through the CM/ECF system on this 20th day of March, 2019.
Celetha Chatman
Michael Wood
COMMUNITY LAWYERS GROUP, LTD.
73 Monroe Street, Suite 514
Chicago, IL 60603

                                                 /s/ Xerxes Martin
                                                 XERXES MARTIN




Statement of Facts                                                                           Page 3 of 3
220.0296 Statement of Facts
